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Our Ref                                                       Your Ref                                                     Date:
PMC/IWC/10220703                                                                                                           16 September 2020


Dear Sirs

POSH SAUDI CO. LTD v DYNAMIC INDUSTRIES SAUDI ARABIA LTD
"POSH ENDEAVOUR" - CHARTERPARTY DATED 1 OCTOBER 2018

      1. As you know, we act for POSH Saudi Co. Ltd ("Owners") in the above referenced
         arbitration proceedings against Dynamic Industries Saudi Arabia Ltd ("Charterers").

      2. We write further to the Final Arbitration Award dated 2 September 2020, a copy of which is
         enclosed with this letter.

      3. The Final Arbitration Award from the Tribunal states as follows:

                          "(A) WE FIND AND HOLD that the Owners' claim in the sum of US$3,998,167.80
                          succeeds in full.

                          (B) WE THEREFORE AWARD AND ADJUDGE that the Charterers shall forthwith
                          pay to the Owners the said sum of US$3,998,167.80 (Three Million Nine Hundred
                          and Ninety Eight Thousand, One Hundred and Sixty-Seven United States Dollars
                          and eighty cents) PLUS interest at the contractual rate of 2% per month from the
                          due date of each of the invoices set out in paragraph 4 of our Reasons until the date
                          of payment.
                          (C) WE FURTHER AWARD AND ADJUDGE:
                          (i) that the Charterers shall bear their own costs and pay the Owners' costs of the
                          reference (and the Owners' said costs may, if not agreed, be determined by us or in
                          the High Court in London in the Owners' option on the basis set out in s.63(5) of the
                          Arbitration Act), for which purpose WE HEREBY RESERVE JURISDICTION to
                          make a subsequent Award of Costs;
                          (ii) that the Charterers shall further bear and pay the costs of this our Final
                          Arbitration Award (inclusive of our fees and interlocutory charges in relation hereto)
                          in the sum of £16,800, PROVIDED ALWAYS that if, in the first instance, the
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                                                                                EXHIBIT "C"
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               Owners shall have paid any amount in respect of the costs of this our Award they
               shall be entitled to immediate reimbursement of any sum or sums so paid; AND
               (iii) that the Charterers shall pay interest on any sums payable to the Owners under
               sub-paragraph C(i) and (ii) above at the rate of 4.5% (four and one-half per cent)
               per annum or pro rata compounded at three-monthly rests from the date of this our
               Final Arbitration Award until the date of payment or reimbursement as appropriate."
   4. Pursuant to the Final Arbitration Award, the following amounts are owed to Owners by
      Charterers:
           (1) US$3,998,167.80 in respect of the principal sum Awarded to Owners by the
               Tribunal (as per paragraphs (A and B));
           (2) Interest at the contractual rate of 2% per month, from the due date of each of
               Owners' invoices until the date of payment (as per paragraph (B));
           (3) Owners' costs of the reference (as per paragraph (C(i));
           (4) £8,400 in relation to the payment made by Owners to the Tribunal in respect of 50%
               of the Tribunal's fees of £16,800 (as per paragraph (C(ii));
           (5) Interest on (3) and (4) above at the rate of 4.5% per annum or pro rata from the date
               of the Final Arbitration Award (2 September 2020) compounded at three monthly
               rests to the date of payment (as per paragraph (C(ii)).
   5. Owners have calculated their costs of this reference as US$25,828 and GBP 525 as per
      the cost schedule set out at Annex 1 to this letter. Owners invite Charterers to confirm
      agreement to pay these costs, which are plainly both reasonable and proportionate in light
      of the amount in dispute.
   6. Owners HEREBY DEMAND that the above sums, namely US$3,998,167.80 in respect of
      the principal sum awarded, plus costs of £8,925 and US$25,828 together with interest as
      set out above are paid forthwith, and in any event within 14 calendar days of the date of this
      letter, to the following account of Owners:
               Bank Account No: 3272498940440
               Bank Name: Riyad Bank
               City: Dammam.
   7. In the event that payment is not received within 14 calendar days (i.e. by 30 September
      2020) then Owners reserve the right to:

           (a) take action to enforce the Final Arbitration Award against the assets of Dynamic
               Industries Saudi Arabia Ltd; and/or
           (b) to commence proceedings against Dynamic Industries Inc under the Parent
               Company Guarantee.

       Please be guided accordingly. Owners also reserve the right to take any other action
       against Charterers they consider necessary in circumstances of Charterers' default.

   8. Should Charterers not agree to pay Owners' costs as set out in paragraph 5, then Owners
      will proceed to apply to the Tribunal for an Award in respect of their costs of US $25,828
      and GBP 525. In any event, any dispute raised by Charterers in respect of Owners' costs
      cannot delay payment of the principal sum of US$3,998,167.80 or the sum of £8,400 paid

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       by Owners in respect of the Tribunal's fees, together with interest owed on these sums,
       which as per the Final Arbitration Award, are payable forthwith.

   9. Needless to say, any delay in Charterers in making payment will result in further interest
      falling due to Owners.

   10. Owners look forward to receiving confirmation within 14 days (i.e. by no later than 30
       September 2020) that payment of the sums set out in paragraph 4 have been remitted to
       Owners in full, together with documentary evidence of payment.

All Owners' rights remain fully reserved.


Yours faithfully




Clyde & Co Clasis Singapore Pte. Ltd.

Enc.




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Annex 1: Owners' Statement of Costs
POSH SAUDI CO. LTD v DYNAMIC INDUSTRIES SAUDI ARABIA LTD
"POSH ENDEAVOUR" - CHARTERPARTY DATED 1 OCTOBER 2018

Casehandler     Hourly Rate (US$)   Time          Total (US$)
                                    Attending
                                    Matter
                                    (Hours)

Ik Wei Chong    570                 5.5           3,135
(Partner)

Paul Collier    450                 46.5          20,925
(Senior
Associate)

Asyraf Isnin    340                 5.2           1,768
(Associate)
                                    TOTAL (US$): 25,828


Disbursements: appointment fee of Mr. Edward Mocatta (GBP 350) and 50% of appointment fee of
Mr. Baker-Harber (GBP 175) totalling GBP 525.




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